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                                                           CRIMINAL COMPLAINT
                                                                  (Electronically Submitted)
                                     United States District Court                              DISTRICT ofARIZONA
                             United States of America                            DOCKET NO.
                                          v.
                            Roxxann Marie Caughlan                               MAGISTRATE'S CASE NO.
                        DOB: 1982; United States Citizen                            22-06531MJ
               Complaint for violation ofTitle 8, United States Code, Sections 1324(a)(l)(A)(ii), 1324(a)(l)(B)(i), and
                                                         1324(a)(l)(B)(iii).
  COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:
  On or about December 14, 2022, in the District of Arizona, Roxxann Marie Caughlan, knowing or in reckless
  disregard that a certain alien, Constantino Rosas-Sanchez and Leonardo Gonzalez-Tista, had come to, entered and
  remained in the United States in violation oflaw, did transp01i and move said aliens within the United States by means
  of transp01iation and otherwise, in furtherance of such violation oflaw and did so for the purpose of private financial
  gain, and placing in jeopardy the life of any person; in violation of Title 8, United States Code, Sections
  1324(a)(l)(A)(ii), 1324(a)(l)(B)(i) and 1324(a)(l)(B)(iii).
  BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
  On or about December 14, 2022, in the District ofArizona (Benson), Border Patrol Agents (BPAs) were informed of
  two vehicles, a white 2003 GMC Sierra and a red 2003 Ford Explorer, traveling in tandem northbound on United
  States highway 191 (US- 191) and were believed to be in the area to facilitate human smuggling. BPAs positioned
  themselves near the entrance ramp ofDragoon Road and Interstate 10 (I-10) to observe traffic. At approximately 8:20
  a.m., BPAs observed the two vehicles traveling in tandem enter I-10 westbound. As BPAs began following the
  vehicles, they made additional observations. BPAs drove up to get next to the driver's side ofthe Explorer in an attempt
  to look into the vehicle, but the driver abruptly exited I-10 at mile marker 304. BPAs then activated their emergency
  lights and sirens and the vehicle initially yielded at the end ofthe off ramp but then accelerated and turned southbound
  on Ocotillo Road. Due to the proximity of the city of Benson, Arizona, BPAs deactivated their emergency lights and
  sirens. BPAs were able to keep visual of the vehicle as it performed a U-turn and traveled back towards I-10 when
  BPAs were able to successfully deploy Vehicle Immobilization Devices (VID) puncturing both rear tires. BPAs
  followed the vehicle back onto I-10 where the driver proceeded to drive approximately 45 miles per hour on the right
  shoulder. BPAs followed the vehicle when the driver abruptly hit the brakes and violently turned the vehicle to the left
  striking a BPA vehicle. BPAs continued to pursue the vehicle until the driver exited I-10 at mile marker 302 and turned
  northbound on a dead-end road. As the vehicle performed another U-turn, BPAs again successfully deployed a VID
  puncturing the front passenger tire. The vehicle then proceeded back onto the I-10 westbound on ramp but was unable
  to remain in control of the vehicle and drove onto an embankment on the on ramp. BPAs observed as six subjects
  attempted to flee from the vehicle. BPAs apprehended the driver, identified as Roxxann Marie CAUGHLAN, and
  ten passengers. An immigration inspection was conducted and all ten passengers, to include Constantino Rosas­
  Sanchez and Leonardo Gonzalez-Tista, were all determined to be illegally present in the United States. Records checks
  revealed that Constantino Rosas-Sanchez and Leonardo Gonzalez-Tista do not possess the proper documentation to
  enter, pass through or remain in the United States legally.

  Continued on next page.
  MATERIAL WITNESSES IN RELATION TO THE CHARGE: Constantino Rosas-Sanchez and Leonardo Gonzalez-Tista
  Detention Requested                                                                          SIGN     RE OF COMPLAINANT
                                                                                                      ��
  Being duly sworn, I declare that the foregoing is                                               /. - ;,,)62
  true and correct to the best of my knowledge.                                                OFFICIAL TITLE
                                                                                               Border Patrol Agent
       Sworn by telephone _x_
  SIGNATURE OF MAGISTRATE JUDGE 1l                                                             DATE
                                                                                               December 15 2022
t) See Federal rules of Criminal Procedure Rules 3, 4.1, and 54
Reviewing AUSA: Siegele
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Material witness Constantino Rosas-Sanchez stated he is a citizen of Mexico, and he made atTangements to be smuggled
into the United States in Agua Prieta, Sonora, Mexico. Rosas stated he was going to pay $9,000 for his smuggling
atTangements. Rosas stated he illegally crossed into the United States with three other individuals and were guided via
cellphone to an unknown location near highway 80. Rosas stated they were told to wait for a vehicle to pick them up
and a mai·oon station wagon stopped, and they all got in and laid down in the rear cargo area. Rosas stated they were
then taken to an unknown house where they were left in the vehicle. Rosas stated a female driver then entered the
vehicle and drove them to another house where more subjects entered the vehicle, and they were all told to lie down by
the female driver. Rosas stated he heard the female driver on the phone when she told a person in Spanish that she was
not going to stop as she did not want to go to jail. Rosas stated there were several times where he believed the vehicle
was going to roll over as she drove recklessly. Rosas stated he feared for his life.

Material witness Leonardo Gonzalez-Tista stated he is a citizen of Guatemala, and his family made arrangements for
him to be smuggled into the United States. Gonzalez stated he did not know exactly how much his family was going to
pay but he believed it was around 105,000 Guatemalan Quetzals. Gonzalez stated he illegally crossed into the United
States with six other subjects, and they walked for approximately five hours when they arrived at an unknown location
and waited for someone to pick them up. Gonzalez stated a station wagon picked them up and drove them to a house
where they waited for a day. Gonzalez stated another station wagon arrived at the house and they all got in and noted
there were other non-citizens in the vehicle. Gonzalez stated the vehicle was dTiven by a female who instructed them to
get down and not get up. Gonzalez stated he heard the driver on the phone and recalled her telling someone that she
was not going to stop. Gonzalez stated after Border Patrol attempted to stop the vehicle, the driver began driving
enatically and he feared for his life.

Agents with expertise in alien smuggling operations state that aliens who are being smuggled into the United States
unlawfully almost never pay transport drivers, foot guides, scouts, or stash house operators in the United States directly.
Instead, the alien or their sponsor makes anangements with the smuggling organization for the smuggling fee - typically
thousands of dollars - to be paid to the alien smuggling organization itself through a mid-level recruiter or coordinator.
The alien or their sponsor may pay part of the fee up front and then will pay the rest of the fee upon reaching a destination
within the United States. Alien smuggling organizations recruit and hire transport drivers by promising to pay them
hundreds or thousands of dollars per alien transported. The organization will then pay the driver upon a successful
transport.
